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  Diane C. Weil, Chapter 7 Trustee
  5950 Canoga Avenue, Suite 400
  Woodland Hills, CA 91367
  dcweil@dcweillaw.com
  Telephone: (818) 651-6400
  Facsimile: (818) 836-5689

                                               UNITED STATES BANKRUPTCY COURT
                                                CENTRAL DISTRICT OF CALIFORNIA
                                                SAN FERNANDO VALLEY DIVISION

  In re:                                                     §
  R & B Aircraft Supply, Inc.                                §       Case No. 1:17-bk-10531-VK
                                                             §
                                           Debtor(s)         §
                                                             §


                                  CHAPTER 7 TRUSTEE’S FINAL ACCOUNT AND DISTRIBUTION
                                   REPORT CERTIFICATION THAT THE ESTATE HAS BEEN FULLY
                                  ADMINISTERED AND APPLICATION TO BE DISCHARGED (TDR)

      Diane C. Weil, Chapter 7 Trustee, submits this Final Account, Certification that the Estate has been Fully
  Administered and Application to be Discharged.

       1) All funds on hand have been distributed in accordance with the Trustee’s Final Report and, if applicable, any
  order of the Court modifying the Final Report. The case is fully administered and all assets and funds which have
  come under the trustee’s control in this case have been properly accounted for as provided by law. The trustee
  hereby requests to be discharged from further duties as a trustee.
      2) A summary of assets abandoned, assets exempt, total distributions to claimants, claims discharged without
  payment, and expenses of administration is provided below:

     Assets Abandoned: $494,912.40                                  Assets Exempt: NA
     (Without deducting any secured claims)
     Total Distributions to Claimants: $0.00                        Claims Discharged
                                                                    Without Payment: NA
     Total Expenses of Administration: $1,834.21

        3) Total gross receipts of $1,834.21 (see Exhibit 1), minus funds paid to the debtor and third parties of $0.00
  (see Exhibit 2), yielded net receipts of $1,834.21 from the liquidation of the property of the estate, which was
  distributed as follows:




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                                               CLAIMS                CLAIMS            CLAIMS             CLAIMS
                                             SCHEDULED              ASSERTED          ALLOWED              PAID
   SECURED CLAIMS
                                                       $0.00                  $0.00         $0.00               $0.00
   (from Exhibit 3 )

   PRIORITY CLAIMS:
     CHAPTER 7 ADMIN. FEES                               NA            $3,226.53        $3,226.53           $1,834.21
     AND CHARGES (from Exhibit 4 )
      PRIOR CHAPTER ADMIN. FEES
      AND CHARGES                                        NA                   $0.00         $0.00               $0.00
      (from Exhibit 5 )

      PRIORITY UNSECURED CLAIMS
                                                       $0.00           $1,211.28        $1,211.28               $0.00
      (from Exhibit 6 )

   GENERAL UNSECURED CLAIMS
                                              $883,475.58             $29,560.32       $29,560.32               $0.00
   (from Exhibit 7 )


    TOTAL DISBURSEMENTS                       $883,475.58             $33,998.13       $33,998.13           $1,834.21



        4) This case was originally filed under chapter 7 on 03/02/2017. The case was pending for 19 months.

       5) All estate bank statements, deposit slips, and canceled checks have been submitted to the United States
  Trustee.
       6) An individual estate property record and report showing the final accounting of the assets of the estate is
  attached as Exhibit 8. The cash receipts and disbursements records for each estate bank account, showing the final
  accounting of the receipts and disbursements of estate funds is attached as Exhibit 9.

        Pursuant to Fed R Bank P 5009, I hereby certify, under penalty of perjury, that the foregoing report is true and
  correct.

  Dated :     10/24/2018                        By :      /s/ Diane C. Weil

                                                          Trustee

  STATEMENT: This Uniform Form is associated with an open bankruptcy case, therefore, Paperwork Reduction Act
  exemption 5 C.F.R. § 1320.4 (a)(2) applies.




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                                                                             EXHIBITS TO
                                                                           FINAL ACCOUNT
          EXHIBIT 1 – GROSS RECEIPTS

                                                                                                          UNIFORM                 AMOUNT
                                         DESCRIPTION
                                                                                                        TRAN. CODE 1              RECEIVED

  Accounts Receivable                                                                                     1121-000                        $1,319.26

  Refund from Home Depot                                                                                  1129-000                         $147.42

  Checking Account - Commerical Bank of California                                                        1129-000                         $329.48

  State Tax Refund for tax year ending 12/31/16                                                           1224-000                          $38.05

      TOTAL GROSS RECEIPTS                                                                                                                $1,834.21
  1
      The Uniform Transaction Code is an accounting code assigned by the trustee for statistical reporting purposes.


          EXHIBIT 2 – FUNDS PAID TO DEBTOR & THIRD PARTIES

                                                                                                    UNIFORM                      AMOUNT
                    PAYEE                                  DESCRIPTION
                                                                                                   TRAN. CODE                     PAID

                      NA                                          NA                                     NA                          NA
      TOTAL FUNDS PAID TO DEBTOR &
                                                                                                                                  $0.00
      THIRD PARTIES

          EXHIBIT 3 – SECURED CLAIMS

                                                             UNIFORM               CLAIMS
      CLAIM                                                                                              CLAIMS         CLAIMS            CLAIMS
                              CLAIMANT                        TRAN.              SCHEDULED
       NO.                                                                                              ASSERTED       ALLOWED             PAID
                                                              CODE             (from Form 6D)
                                  NA                              NA                  NA                      NA           NA               NA

                 TOTAL SECURED                                                      $0.00                 $0.00          $0.00             $0.00

          EXHIBIT 4 – CHAPTER 7 ADMINISTRATIVE FEES AND CHARGES

                                                          UNIFORM
                                                                                CLAIMS                CLAIMS            CLAIMS            CLAIMS
                         PAYEE                             TRAN.
                                                                              SCHEDULED              ASSERTED          ALLOWED             PAID
                                                           CODE
      Diane C. Weil                                       2100-000                 NA                      $458.55         $458.55                 $0.00

      Diane C. Weil                                       2200-000                 NA                      $104.40         $104.40                 $0.00

      FRANCHISE TAX BOARD                                 2990-000                 NA                      $829.37         $829.37                 $0.00

      ASAP CORP.                                          2990-000                 NA                      $381.91         $381.91            $381.91

      CLAS WORLDWIDE INFORMATION                          2990-000                 NA                         $36.50        $36.50             $36.50

      REGIS BOYLE, JR.                                    3991-000                 NA                   $1,295.80        $1,295.80          $1,295.80


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        EXHIBIT 4 – CHAPTER 7 ADMINISTRATIVE FEES AND CHARGES

                                              UNIFORM
                                                                   CLAIMS            CLAIMS                 CLAIMS          CLAIMS
                   PAYEE                       TRAN.
                                                                 SCHEDULED          ASSERTED               ALLOWED           PAID
                                               CODE
   Union Bank                                 2600-000              NA                    $120.00              $120.00         $120.00
   TOTAL CHAPTER 7 ADMIN. FEES
   AND CHARGES                                                      NA                   $3,226.53           $3,226.53       $1,834.21


        EXHIBIT 5 – PRIOR CHAPTER ADMINISTRATIVE FEES AND CHARGES

                                                    UNIFORM
                                                                     CLAIMS               CLAIMS             CLAIMS         CLAIMS
                    PAYEE                            TRAN.
                                                                   SCHEDULED             ASSERTED           ALLOWED          PAID
                                                     CODE
                      NA                              NA             NA                     NA                NA              NA
   TOTAL PRIOR CHAPTER ADMIN FEES
   AND CHARGES                                                       NA                   $0.00              $0.00           $0.00

        EXHIBIT 6 – PRIORITY UNSECURED CLAIMS

                                                                        CLAIMS       CLAIMS
                                                      UNIFORM
       CLAIM                                                          SCHEDULED     ASSERTED                  CLAIMS        CLAIMS
                           CLAIMANT                    TRAN.
        NO.                                                           (from Form (from Proofs of             ALLOWED         PAID
                                                       CODE
                                                                          6E)         Claim)
   12          Los Angeles City Attorney's Office     5800-000              NA                   $164.57        $164.57            $0.00

   3           LOS ANGELES COUNTY                     5800-000                   $0.00           $246.71        $246.71            $0.00

   8           FRANCHISE TAX BOARD                    5800-000                   $0.00           $800.00        $800.00            $0.00

   TOTAL PRIORITY UNSECURED CLAIMS                                               $0.00       $1,211.28        $1,211.28            $0.00

        EXHIBIT 7 – GENERAL UNSECURED CLAIMS

                                                                       CLAIMS      CLAIMS
                                                      UNIFORM
       CLAIM                                                         SCHEDULED    ASSERTED                    CLAIMS        CLAIMS
                            CLAIMANT                   TRAN.
        NO.                                                         (FROM Form (FROM Proofs of               ALLOWED         PAID
                                                       CODE
                                                                         6F)        Claim)
   9            Great America Financial Services      7100-000                  $0.00        $9,127.48         $9,127.48           $0.00

   8A           FRANCHISE TAX BOARD                   7300-000             NA                     $27.67           $27.67          $0.00

   7            Deans & Homer                         7100-000             $476.96               $476.96        $476.96            $0.00

   6            Jay-Tex Aviation, Inc.                7100-000             $349.00               $349.00        $349.00            $0.00

   5            Segers Aero Corporation               7100-000             $900.00               $349.00        $349.00            $0.00

   4            Iln Technologies Inc.                 7100-000           $11,707.50         $11,707.50        $11,707.50           $0.00

   2            Primary Instruments Inc               7100-000             $550.00               $550.00        $550.00            $0.00

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        EXHIBIT 7 – GENERAL UNSECURED CLAIMS

                                                                    CLAIMS      CLAIMS
                                                      UNIFORM
       CLAIM                                                      SCHEDULED    ASSERTED          CLAIMS      CLAIMS
                            CLAIMANT                   TRAN.
        NO.                                                      (FROM Form (FROM Proofs of     ALLOWED       PAID
                                                       CODE
                                                                      6F)        Claim)
   12A          Los Angeles City Attorney's           7300-000       NA             $32.52         $32.52           $0.00

   11           Herber Aircraft Service Inc.          7100-000      $1,610.00     $5,031.25      $5,031.25          $0.00

   10           American Express Bank, Fsb            7100-000      $1,953.01     $1,908.94      $1,908.94          $0.00

   1            Internal Revenue Service              7100-000            $0.00         $0.00       $0.00           $0.00

                Aero Turbine                                       $52,458.25      NA             NA                $0.00

                Aircraft Specialties Services                       $3,231.62      NA             NA                $0.00

                Align Aerospace LLC                                  $120.00       NA             NA                $0.00

                AT&T                                                $1,318.96      NA             NA                $0.00

                AT&T Mobility                                        $408.59       NA             NA                $0.00

                ATI - Aerotropic Intl Inc                          $10,500.00      NA             NA                $0.00

                Aviall Services                                     $4,598.98      NA             NA                $0.00

                Bank of America                                      $216.00       NA             NA                $0.00

                Bank of America                                     $8,287.16      NA             NA                $0.00

                Brian Moore                                           $85.54       NA             NA                $0.00

                Brown Helicopter Inc                               $14,167.00      NA             NA                $0.00

                Chase / Cardmember Service                         $10,288.27      NA             NA                $0.00

                City Of Los Angeles Office of                        NA            NA             NA                $0.00

                City of Los Angeles, Office of                       $235.00       NA             NA                $0.00

                Dixie Air Parts Supply Inc.                          $100.00       NA             NA                $0.00

                El Dorado Aircraft Supplies                          $208.37       NA             NA                $0.00

                Employment Development                               NA            NA             NA                $0.00

                Evair Associates                                    $2,260.00      NA             NA                $0.00

                Exxon Mobil                                          $451.68       NA             NA                $0.00

                FP Mailing Solutions                                 $502.11       NA             NA                $0.00

                Hermes Technical Int'l Inc                          $3,421.25      NA             NA                $0.00

                Instrument Specialties Co Inc                        $255.00       NA             NA                $0.00

                Internal Revenue Service LA &                        NA            NA             NA                $0.00

                J Rogers                                          $291,790.00      NA             NA                $0.00

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       EXHIBIT 7 – GENERAL UNSECURED CLAIMS

                                                                 CLAIMS      CLAIMS
                                                    UNIFORM
     CLAIM                                                     SCHEDULED    ASSERTED        CLAIMS   CLAIMS
                           CLAIMANT                  TRAN.
      NO.                                                     (FROM Form (FROM Proofs of   ALLOWED    PAID
                                                     CODE
                                                                   6F)        Claim)
                John Tapani, C.P.A.                              $2,999.00      NA           NA             $0.00

                Kal Nelson Aviation Inc                           $325.00       NA           NA             $0.00

                Kansas Aviation of Independence                  $1,000.00      NA           NA             $0.00

                Kent Airparts                                   $39,965.64      NA           NA             $0.00

                Kent Airparts                                   $56,960.00      NA           NA             $0.00

                Kent Airparts                                   $15,526.87      NA           NA             $0.00

                KLX                                               $110.41       NA           NA             $0.00

                Lance Allen Document Solutions                    $542.07       NA           NA             $0.00

                LJJD LLC                                        $38,567.44      NA           NA             $0.00

                Los Angeles County Tax Collector                  NA            NA           NA             $0.00

                Los Angeles Department of                         $408.59       NA           NA             $0.00

                Los Angeles Department of                         $798.00       NA           NA             $0.00

                Max Meredith                                      NA            NA           NA             $0.00

                Max Meredith                                      NA            NA           NA             $0.00

                MCI                                                $51.87       NA           NA             $0.00

                MP Sala Group                                   $82,053.06      NA           NA             $0.00

                Nina Nelson                                       NA            NA           NA             $0.00

                Nina Nelson                                     $53,100.00      NA           NA             $0.00

                Orkin                                             $272.72       NA           NA             $0.00

                P's Metal, Inc. d/b/a C & S Metal                 NA            NA           NA             $0.00

                Pacific Sky Supply                              $20,000.00      NA           NA             $0.00

                Praxair                                           $139.61       NA           NA             $0.00

                Preferred Employers Group                        $1,730.00      NA           NA             $0.00

                Quality Aviation, Inc.                         $100,000.00      NA           NA             $0.00

                Rayne Water Conditioning                           $38.65       NA           NA             $0.00

                Republic Services                                 $384.69       NA           NA             $0.00

                Ronald Vickrey                                   $2,919.41      NA           NA             $0.00

                Sandra Fiske                                      NA            NA           NA             $0.00

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       EXHIBIT 7 – GENERAL UNSECURED CLAIMS

                                                                CLAIMS      CLAIMS
                                                   UNIFORM
     CLAIM                                                    SCHEDULED    ASSERTED        CLAIMS      CLAIMS
                             CLAIMANT               TRAN.
      NO.                                                    (FROM Form (FROM Proofs of   ALLOWED       PAID
                                                    CODE
                                                                  6F)        Claim)
                Sandra Fiske                                   $23,400.00      NA           NA                $0.00

                Shell                                            NA            NA           NA                $0.00

                Shell                                            $827.24       NA           NA                $0.00

                Shirley Vickrey                                 $2,919.41      NA           NA                $0.00

                Snap-On Tools International LLC                 $1,267.74      NA           NA                $0.00

                So Cal Gas                                       $207.42       NA           NA                $0.00

                Staples Credit Plan                               $76.89       NA           NA                $0.00

                State Board of Equalization                      NA            NA           NA                $0.00

                The Gas Company                                   $88.10       NA           NA                $0.00

                VAS Aero Malaysia                               $1,170.00      NA           NA                $0.00

                Wells Fargo Business Line                      $13,175.50      NA           NA                $0.00

   TOTAL GENERAL UNSECURED CLAIMS                             $883,475.58    $29,560.32   $29,560.32          $0.00




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                                                                                       FORM 1
                                                                   INDIVIDUAL ESTATE PROPERTY RECORD AND REPORT
                                                                                     ASSET CASES
                Case No: 17-10531                              Judge: Victoria S. Kaufman                                              Trustee Name: Diane C. Weil
             Case Name: R & B Aircraft Supply, Inc.                                                                   Date Filed (f) or Converted (c): 03/02/2017 (f)
                                                                                                                               341(a) Meeting Date: 04/03/2017
      For Period Ending: 10/24/2018                                                                                                  Claims Bar Date: 06/19/2017

                                       1                                      2                       3                      4                         5                           6
                                                                                                 Est Net Value
                                                                                             (Value Determined by                                                       Asset Fully Administered
                                                                                                                      Property Formally
                                Asset Description                    Petition/Unscheduled     Trustee, Less Liens,                           Sale/Funds Received by       (FA) / Gross Value of
                                                                                                                         Abandoned
                    (Scheduled and Unscheduled (u) Property)                 Values               Exemptions,                                      the Estate               Remaining Assets
                                                                                                                         OA=554(a)
                                                                                               and Other Costs)
1.      Checking Account - Commerical Bank of California                            524.57                  329.48                                           329.48               FA
2.      Lease Security Deposit                                                    2,396.40                     0.00                                            0.00               FA
3.      UPS Deposit                                                                 800.00                     0.00                                            0.00               FA
4.      Accounts Receivable                                                       6,482.60                 6,482.60                                        1,319.26               FA
5.      Aircraft Parts Inventory                                               200,000.00                 15,000.00         OA                                 0.00               FA
6.      Office Furniture                                                          1,265.00                     0.00         OA                                 0.00               FA
7.      Office Equipment                                                            500.00                     0.00         OA                                 0.00               FA
8.      Photographs, posters, painting, airplane models an                          200.00                     0.00         OA                                 0.00               FA
9.      Books and binders on airplanes, parts and airplane                          100.00                     0.00                                            0.00               FA
10.     Metal Shop Machines                                                       Unknown                      0.00                                            0.00               FA
11.     Leasehold interest at 6848 Farmdale Ave., North Ho                            0.00                     0.00                                            0.00               FA
12.     Internet domain and websites RBAircraft.com                                   0.00                     0.00                                            0.00               FA
13.     Police Commission Permit                                                      0.00                     0.00                                            0.00               FA
14.     State of California Board of Equalization Sellers                             0.00                     0.00                                            0.00               FA
15.     Agricultural Commissioner Weights and Measures Dev                            0.00                     0.00                                            0.00               FA
16.     Unused Net Operating Losses (NOLs)                                     289,651.00                      0.00                                            0.00               FA
17.     Refund from Workers Compensation Insurance                                Unknown                      0.00                                            0.00               FA
18.     Refund from Home Depot                                                      140.00                  147.42                                           147.42               FA
19.     Void (u)                                                                  Unknown                      0.00                                            0.00               FA
20.     State Tax Refund for tax year ending 12/31/16 (u)                            38.05                   38.05                                            38.05               FA



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                                                                                                      FORM 1
                                                                                  INDIVIDUAL ESTATE PROPERTY RECORD AND REPORT
                                                                                                    ASSET CASES
            Case No: 17-10531                                                 Judge: Victoria S. Kaufman                                                      Trustee Name: Diane C. Weil
         Case Name: R & B Aircraft Supply, Inc.                                                                                              Date Filed (f) or Converted (c): 03/02/2017 (f)
                                                                                                                                                      341(a) Meeting Date: 04/03/2017
  For Period Ending: 10/24/2018                                                                                                                             Claims Bar Date: 06/19/2017

                                      1                                                         2                           3                         4                         5                             6
                                                                                                                      Est Net Value
                                                                                                                  (Value Determined by                                                            Asset Fully Administered
                                                                                                                                             Property Formally
                              Asset Description                                      Petition/Unscheduled          Trustee, Less Liens,                              Sale/Funds Received by         (FA) / Gross Value of
                                                                                                                                                Abandoned
                  (Scheduled and Unscheduled (u) Property)                                   Values                    Exemptions,                                         the Estate                 Remaining Assets
                                                                                                                                                OA=554(a)
                                                                                                                    and Other Costs)

                                                                                                                                                                                           Gross Value of Remaining Assets

TOTALS (Excluding Unknown Values)                                                              502,097.62                    21,997.55                                              1,834.21                           0.00


Re Prop. #16 NOL 2015 $184,114;NOL 2016 $105,537
Re Prop. #19 Duplicate of asset no. 17.


Major activities affecting case closing which are not reflected above, and matters pending, date of hearing or sale, and other action:
ADMIN STATUS: NEW

INITIAL REPORTING PERIOD ENDING 09-30-17:

The Debtor had a license to perform repairs on certain aircraft parts. At the time of the bankruptcy, the Debtor had ceased operations and began liquidating its' assets. The Trustee had a licensed auctioneer review the
assets to determined the resale value, if any. The Trustee's auctioneer determined that the assets of the business had a liquidation value of no more than $15,0000. However, the Debtor had an appraisal from a licensed
auctioneer who specialized in the aviation field. Its' estimate of the value of assets was more than $200,000. As a result, the Trustee reached out to the auctioneer and obtained a copy of its' report. After review, it
appeared that many of the assets included in the Debtor's most current inventory were missing. After further inquiry, the Trustee learned that most of the items sold were for helicopters and were the assets with the most
value. The remaining assets had little or no value.

On or about August 30, 2017, the Trustee abandoned the inventory of aircraft parts, office furniture, business equipment and photographs.

The Trustee has employed general counsel to assist her with her investigation and legal projects that arise pursuant to the Court's order entered April 20, 2017.

PROFESSIONALS

General Counsel - Danning, Gill, Diamond & Kollitz, LLP P.O.E. 04/20/17

ACCOUNTS:
General Account

CLAIMS:
POC Bar date: 06/19/17


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                                                                                      FORM 1
                                                                  INDIVIDUAL ESTATE PROPERTY RECORD AND REPORT
                                                                                    ASSET CASES
             Case No: 17-10531                               Judge: Victoria S. Kaufman                                              Trustee Name: Diane C. Weil
          Case Name: R & B Aircraft Supply, Inc.                                                                    Date Filed (f) or Converted (c): 03/02/2017 (f)
                                                                                                                             341(a) Meeting Date: 04/03/2017
  For Period Ending: 10/24/2018                                                                                                    Claims Bar Date: 06/19/2017

                                      1                                      2                      3                      4                         5                           6
                                                                                               Est Net Value
                                                                                           (Value Determined by                                                       Asset Fully Administered
                                                                                                                    Property Formally
                             Asset Description                      Petition/Unscheduled    Trustee, Less Liens,                           Sale/Funds Received by       (FA) / Gross Value of
                                                                                                                       Abandoned
                 (Scheduled and Unscheduled (u) Property)                   Values              Exemptions,                                      the Estate               Remaining Assets
                                                                                                                       OA=554(a)
                                                                                             and Other Costs)




 [Cheryl Blair 2017-10-23 23:56:06]


Initial Projected Date of Final Report(TFR) : 03/01/2019      Current Projected Date of Final Report(TFR) : 03/01/2019


Trustee’s Signature          /s/Diane C. Weil                                Date: 10/24/2018
                             Diane C. Weil
                             5950 Canoga Avenue, Suite 400
                             Woodland Hills, CA 91367
                             Phone : (818) 946-1270




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                                                                        ESTATE CASH RECEIPTS AND DISBURSEMENTS RECORD
                                                                                                                                                                                                Page 1


                 Case No: 17-10531                                                                                                           Trustee Name: Diane C. Weil
              Case Name: R & B Aircraft Supply, Inc.                                                                                           Bank Name: Union Bank
                                                                                                                                      Account Number/CD#: ******9157 Checking Account
       Taxpayer ID No: **-***5780                                                                                            Blanket bond (per case limit): 5,000,000.00
     For Period Ending: 10/24/2018                                                                                           Separate bond (if applicable): 0.00

    1                     2                             3                                           4                                           5                     6                   7
                                                                                                                          Uniform
Transaction           Check or                                                                                             Trans.                                                     Account/ CD
   Date               [Refer#]                Paid To / Received From                 Description of Transaction           Code            Deposits($)        Disbursements($)         Balance($)
03/28/2017               [1]        Commercial Bank of California           Closing of Debtor's Bank Account              1129-000                  329.48                                      329.48


03/28/2017               [4]        P's Metal Inc., dba C & S Metal         A/R re prepetition purchase of                1121-000                  400.00                                      729.48
                                                                            Forklist

04/27/2017               [4]        Midwest Aerospace, LTD                  A/R re MIDWEST AEROSPACE, LTD                 1121-000                  400.00                                     1,129.48
                                    9465 JOLIET
                                    ST. JOHN , IN 46373

04/27/2017              [18]        Citibank, N.A.                          HOME DEPOT REFUND                             1129-000                  147.42                                     1,276.90


06/13/2017            300001        CLAS WORLDWIDE INFORMATION              UCC SEARCH AND COPIES, invoice                                                                                     1,276.90
                                    SERVICES                                #299289-0000, PER LBR 2016-2(a)
                                    2020 HURLEY WAY, SUITE 350
                                    SACRAMENTO , CA 95825
                                                                            #299289-0000, PER LBR
                                                                                                                   0.00   2990-000
                                                                            2016-2(a)
                                                                            #299289-0000, PER LBR
                                                                                                                   0.00   2990-000
                                                                            2016-2(a)
                                                                            #299289-0000, PER LBR
                                                                                                                   0.00   2990-000
                                                                            2016-2(a)

06/13/2017            300002        CLAS WORLDWIDE INFORMATION              UCC SEARCH AND COPIES, invoice                2990-000                                         36.50               1,240.40
                                    SERVICES                                #299289-0000, PER LBR 2016-2(a)
                                    2020 HURLEY WAY, SUITE 350
                                    SACRAMENTO , CA 95825

                                                                                                                     Page Subtotals              1,276.90                  36.50




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                                      Case 1:17-bk-10531-VK                Doc 37 Filed 11/06/18 Entered 11/06/18 15:37:56                               Desc
                                                                           Main DocumentFORMPage    2
                                                                                                          12 of 13
                                                                        ESTATE CASH RECEIPTS AND DISBURSEMENTS RECORD
                                                                                                                                                                                                 Page 2


                 Case No: 17-10531                                                                                                           Trustee Name: Diane C. Weil
              Case Name: R & B Aircraft Supply, Inc.                                                                                           Bank Name: Union Bank
                                                                                                                                      Account Number/CD#: ******9157 Checking Account
       Taxpayer ID No: **-***5780                                                                                            Blanket bond (per case limit): 5,000,000.00
     For Period Ending: 10/24/2018                                                                                           Separate bond (if applicable): 0.00

    1                     2                                3                                         4                                          5                     6                    7
                                                                                                                         Uniform
Transaction           Check or                                                                                            Trans.                                                       Account/ CD
   Date               [Refer#]                Paid To / Received From                  Description of Transaction         Code             Deposits($)        Disbursements($)          Balance($)
06/15/2017               [4]        Cappsco International Corp.             A/R                                          1121-000                    19.26                                      1,259.66


06/19/2017               [4]        Air Technology, INc.                    A/R                                          1121-000                   500.00                                      1,759.66


06/26/2017                          Union Bank                              Bank Service Fee under 11 U.S.C.             2600-000                                           15.00               1,744.66
                                                                            330(a)(1)(B), 503(b)(1), and 507(a)(2)

07/25/2017                          Union Bank                              Bank Service Fee under 11 U.S.C.             2600-000                                           15.00               1,729.66
                                                                            330(a)(1)(B), 503(b)(1), and 507(a)(2)

08/25/2017                          Union Bank                              Bank Service Fee under 11 U.S.C.             2600-000                                           15.00               1,714.66
                                                                            330(a)(1)(B), 503(b)(1), and 507(a)(2)

08/29/2017              [20]        State of California Employment          TAX REFUND FOR 2016                          1224-000                    38.05                                      1,752.71
                                    Development Dept

09/25/2017                          Union Bank                              Bank Service Fee under 11 U.S.C.             2600-000                                           15.00               1,737.71
                                                                            330(a)(1)(B), 503(b)(1), and 507(a)(2)

10/25/2017                          Union Bank                              Bank Service Fee under 11 U.S.C.             2600-000                                           15.00               1,722.71
                                                                            330(a)(1)(B), 503(b)(1), and 507(a)(2)

11/27/2017                          Union Bank                              Bank Service Fee under 11 U.S.C.             2600-000                                           15.00               1,707.71
                                                                            330(a)(1)(B), 503(b)(1), and 507(a)(2)

12/26/2017                          Union Bank                              Bank Service Fee under 11 U.S.C.             2600-000                                           15.00               1,692.71
                                                                            330(a)(1)(B), 503(b)(1), and 507(a)(2)


                                                                                                                     Page Subtotals                 557.31                 105.00




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                                      Case 1:17-bk-10531-VK                 Doc 37 Filed 11/06/18 Entered 11/06/18 15:37:56                                     Desc
                                                                            Main DocumentFORMPage    2
                                                                                                           13 of 13
                                                                         ESTATE CASH RECEIPTS AND DISBURSEMENTS RECORD
                                                                                                                                                                                                          Page 3


                 Case No: 17-10531                                                                                                                  Trustee Name: Diane C. Weil
              Case Name: R & B Aircraft Supply, Inc.                                                                                                  Bank Name: Union Bank
                                                                                                                                             Account Number/CD#: ******9157 Checking Account
       Taxpayer ID No: **-***5780                                                                                                   Blanket bond (per case limit): 5,000,000.00
     For Period Ending: 10/24/2018                                                                                                  Separate bond (if applicable): 0.00

    1                     2                             3                                             4                                                5                      6                     7
                                                                                                                                 Uniform
Transaction           Check or                                                                                                    Trans.                                                        Account/ CD
   Date               [Refer#]                Paid To / Received From                   Description of Transaction                Code            Deposits($)        Disbursements($)            Balance($)
01/25/2018                          Union Bank                               Bank Service Fee under 11 U.S.C.                    2600-000                                           15.00                1,677.71
                                                                             330(a)(1)(B), 503(b)(1), and 507(a)(2)

03/19/2018            300003        ASAP CORP.                               LOCKSMITH PER CDM ENTERED 3/15/18                   2990-000                                          381.91                1,295.80
                                    6501 1/2 SO. SEPULVEDA BLVD.
                                    LOS ANGELES , CA 90046

03/19/2018            300004        REGIS BOYLE, JR.                         FIELD REPRESENTATIVE SERVICES PER                   3991-000                                         1,295.80                  0.00
                                    373 RAINDANCE ST.                        CDM ENTERED 3/15/18
                                    THOUSAND OAKS , CA 91360

                                                                                                                            Page Subtotals                   0.00                 1,692.71


                                                                                                    COLUMN TOTALS                                       1,834.21                  1,834.21
                                                                                                              Less:Bank Transfer/CD's                        0.00                    0.00
                                                                                                    SUBTOTALS                                           1,834.21                  1,834.21

                                                                                                            Less: Payments to Debtors                                                0.00
                                                                                                    Net                                                 1,834.21                  1,834.21


                                                                                            TOTAL-ALL ACCOUNTS                                         NET                     NET               ACCOUNT
                    All Accounts Gross Receipts:              1,834.21                                                                               DEPOSITS             DISBURSEMENTS          BALANCE

              All Accounts Gross Disbursements:               1,834.21
                                                                                            ******9157 Checking Account                                 1,834.21                  1,834.21
                                 All Accounts Net:                0.00
                                                                                            Net Totals                                                  1,834.21                  1,834.21                0.00




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